
194 Va. 266 (1952)
WALTER N. MAGUIRE AND GUY PARKHURST ESTES, ET ALS.
v.
FRANK STONE LOYD AND J. EASLEY EDMUNDS, JR., EXEC'S, ETC.
Record No. 3841.
Supreme Court of Virginia.
October 13, 1952.
Ellsworth Wiltshire, Marion W. Jones    and    Caskie, Frost, Davidson &amp; Watts,    for the appellants.
Edmunds, Whitehead, Baldwin &amp; Graves,    for the appellees.
Present, All the Justices.
Appeal from a decree of the Corporation Court of the city of Lynchburg. Hon. S. DuVal Martin, judge presiding.
E. Randolph Williams,    amicus curiae.
UPON REHEARING. PER CURIAM.
In an opinion rendered on December 3, 1951, reported in 193 Va. 138, 67 S.E.(2d) 885, the decree of the Corporation Court of the city of Lynchburg was affirmed in part, reversed in part, and the case remanded for further proceedings.
A rehearing was granted to appellants, and this case has been fully and ably re-argued.  After careful consideration of the questions presented we adhere to our former opinion, and this cause is remanded to the trial court for further proceedings therein in accord with the views expressed in the opinion of December 3, 1951.
Affirmed in part, reversed in part, and remanded.
